






Becker v. State






COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS




IN RE

JEFFREY LUTZ,

Relator.

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No. 08-04-00336-CV

AN ORIGINAL PROCEEDING 

IN MANDAMUS





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MEMORANDUM OPINION ON PETITION FOR WRIT OF MANDAMUS
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Jeffrey Lutz, asks this Court to issue a writ of mandamus against Respondent,
the Honorable Patricia Macias, Judge of the 388th District Court of El Paso County.  The
petition for writ of mandamus is denied.  See Tex. R. App. P. 52.7(a), 52.8(a).  Our denial of
the petition shall not be construed as a ruling on the merits.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RICHARD BARAJAS, Chief Justice
December 2, 2004

Before Panel No. 2
Barajas, C.J., McClure, and Chew, JJ.


